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                                         5
                                                                       IN THE UNITED STATES DISTRICT COURT
                                         6
                                                                          FOR THE DISTRICT OF ARIZONA
                                         7
                                              United States of America,                   Case No. CR 23-00212-PHX-SPL
                                         8
                                                          Plaintiff,
                                         9                                                DEFENDANT’S SENTENCING
                                              v.                                          MEMORANDUM
                                        10
                                              Heriberto Lopez-Landeros,
                                        11
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                                                          Defendant.
                                        12
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                                        13         Defendant, Heriberto Lopez-Landeros (“Mr. Lopez”), by and through the
                                        14   undersigned counsel respectfully requests that this Court sentence him 60 months
                                        15   incarceration followed by a term supervised release. Such a sentence would be “sufficient
                                        16   but not greater than necessary” to comply with the goals of sentencing set forth in 18 USC
                                        17   § 3553(a).
                                        18         I.        Sentencing Considerations
                                        19         Under the terms of the plea agreement in this case, the Mr. Lopez plead guilty to

                                        20   Count 2, the lesser-included offense of Possess with Intent to Distribute 50 grams or more

                                        21   of Methamphetamine, a Schedule II Controlled Substance.           Under the terms of the

                                        22   agreement Mr. Lopez’ sentence shall not exceed 168 months and nothing in the agreement

                                        23   precludes Mr. Lopez from moving for a downward departure, variance or sentence below

                                        24   the cap, or from the Court from imposing a sentence below the cap.

                                        25         The Pre-Sentence Report recommended a sentence of 168 months incarceration

                                        26   followed by 4 years of supervised release. The United States is also recommending a

                                        27   sentence of 168 months incarceration followed by 4 years of supervised release.

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                                         1          Mr. Lopez’ requested sentence would satisfy the requirement of 18 U.S.C. §3553(a)
                                         2   that the sentence be sufficient, but not greater than necessary in light of:
                                         3
                                                    (1) the nature and circumstances of the offense and the history and characteristics of
                                         4          the defendant;
                                                    (2) the need for the sentence imposed—
                                         5                  (A) to reflect the seriousness of the offense, to promote respect for the law,
                                         6                  and to provide just punishment for the offense;
                                                            (B) to afford adequate deterrence to criminal conduct;
                                         7                  (C) to protect the public from further crimes of the defendant; and
                                                            (D) to provide the defendant with needed educational or vocational training,
                                         8
                                                            medical care, or other correctional treatment in the most effective manner;
                                         9          (3) the kinds of sentences available;
                                                    (4) the kinds of sentence and the sentencing range established . . .;
                                        10          (5) any pertinent [Sentencing Commission] policy statement . . .;
                                        11          (6) the need to avoid unwarranted sentence disparities among defendants with
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                                                    similar records who have been found guilty of similar conduct; and
                                        12
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                                                    (7) the need to provide restitution to any victims of the offense.
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                                        13          Mr. Lopez is a 44-year-old man; he was 42 at the time of the present offense. As
                                        14   detailed in his Pre-Sentence Interview, Mr. Lopez is a United States Citizen by virtue of
                                        15   his birth in Phoenix, Arizona. Mr. Lopez spent much of his first decade of life growing up
                                        16   in Mexico and then returned to Arizona. His parents were separated due to his father’s
                                        17   extended incarceration. He has strong relationship with his mother and has strong family
                                        18   support, to include his present long time “common law” wife, Maria. He and Maria have
                                        19   5 children together, whom Mr. Lopez misses greatly. He sincerely regrets his involvement
                                        20   in this matter, primarily because of the negative effect its had on Maria and, in particular,
                                        21   his youngest 2 children, Gael (age 11) and Kendra (age 10). Presently, Gael is recovering
                                        22   from surgery to correct issues with his pelvis and hip. Gael cannot walk and will require
                                        23   significant therapy, recovery time and care.
                                        24          Mr. Lopez freely admits his role in this matter (as outlined in the plea agreement)
                                        25   and, of note, accepts responsibility. However, it is important to note that Mr. Lopez and
                                        26   his confederates, are not accused by the Government of any type of violence. In fact, the
                                        27   Government conducted an extremely thorough investigation, including the utilization of
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                                         1   Title III wire intercepts, confidential human sources, cooperating individuals, and
                                         2   undoubtedly countless hours of surveillance and other investigative techniques. With the
                                         3   full weight of all of the Government’s resources, it is near assured that they are very well
                                         4   aware the extent of Mr. Lopez’ criminal involvement. And even with those resources, the
                                         5   Government did not uncover any violent actions on behalf of the organization or Mr.
                                         6   Lopez.      Nor did the government uncover or seize outlandish amounts of controlled
                                         7   substances discovered from the investigation’s inception in July of 2021 until Mr. Lopez’
                                         8   arrest on February 22, 2023.     Firearms were indeed discovered at Mr. Lopez’ residence,
                                         9   however, again, there were no allegations that Mr. Lopez, nor any of his co-defendants
                                        10   carried or ever utilized them in a violent manner.
                                        11            Mr. Lopez has a very dated prior criminal history. Again, though, it is devoid of
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                                        12   any allegations of violence. His last prior offense occurred over 20 years ago. That offense,
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                                        13   Promoting Prison Contraband, involved his possession of a very small amount of
                                        14   methamphetamine that unfortunately occurred while on probation for another offense and
                                        15   was discovered inside of a jail facility. In that matter, Mr. Lopez was very aggressively
                                        16   prosecuted by now disbarred attorney Lisa Aubuchon.
                                        17            The requested sentence of 60 months (5 years) is a very significant sentence for a
                                        18   man that is not accused of any violent crimes. Moreover, Mr. Lopez has no prior history
                                        19   of violent offenses. Prior to this incident, he was not charged with any offenses for nearly
                                        20   20 years.
                                        21            Mr. Lopez has always supported his family, both emotionally and financially. He
                                        22   deeply misses and regrets the stress and damage that his actions have caused them. In
                                        23   particular, Mr. Lopez’ youngest two children have suffered emotionally since Mr. Lopez
                                        24   arrest and detention. They have been the target of other children’s ridicule while in school
                                        25   and also simply miss the companionship, love and affection of their dad.
                                        26            Upon his eventual release from custody, he vows to live a crime free lifestyle. His
                                        27   involvement in this activity has greatly upset and disappointed his family, who were very
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                                         1   surprised by his arrest. Mr. Lopez now realizes that his lifestyle will undoubtedly lead to
                                         2   his death or terminal incarceration. He does not wish to waste anymore of his life.
                                         3           Mr. Lopez knows that his actions were wrong. He was cooperative, respectful and
                                         4   remorseful during the pendency of this matter. He has learned a lot from this experience
                                         5   and has chosen to spend his time in pretrial detention by taking self-improvement classes
                                         6   available to him. Mr. Lopez recognizes that his lifelong substance abuse issues certainly
                                         7   contributed to his present situation.
                                         8           Mr. Lopez is a promising prospect and has a loving and caring family who will
                                         9   continue to encourage him as to remain upon a positive course. Mr. Lopez has plans for
                                        10   future work to support him and his family. He greatly wishes to become an active part of
                                        11   his children’s lives again. He is anxious to put this matter behind him and move on with
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                                        12   his life.
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                                        13           In light of the many positive factors weighing in his favor, we respectfully ask the
                                        14   Court to find appropriate downward departures and variances to mitigate Mr. Lopez’s
                                        15   sentence so that he may rejoin society and his family.
                                        16
                                        17   RESPECTFULLY SUBMITTED this 20th day of November 2024.

                                        18                                              MAYESTELLES PLLC

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                                        20                                             By:      /s/ Edward G. Hamel__
                                                                                             Edward G. Hamel
                                        21                                                   Attorney for Defendant
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